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                     UNITED STATES DISTRICT COURT

                      DISTRICT OF NEW HAMPSHIRE




Michael Sean Speight



V.                                             Civil No. l;24-cv-00055
                                          Chief Judge Landya B. McCaffeity

Amanda Kaelblein
Michael Kaelblein
Nancy Kaelblein
George Phelan
Eric Stephaine



     MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR MENTAL

                HEALTH EVALUATION ON MINOR CHILD




                           INTRODUCTION


      We do know children suffer from mental and emotioneil problems due

to the fact they are alienated from the other parent, to what extent that's for

a professional to determine. Most experts believe it causes trust issues,

irrational views of people,increased problems with mental health disorders.

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substance abuse Issues, and problems keeping a marriage together or job

intact.Even though the Courts have been dealing with this for years, the

only papers on this subject are written by professionals (see Exhibit 2)

                                  FACTS


     We do know it causes mental and emotional problems to the children

Courts recognizes this “ Across the country the great weight of authority

holds that conduct by one parent that tends to alienate the child's affection

from the other is so inimical to the child's welfare as to be grounds for a


denial of custody to, the parent guilty of such conduct.” Renaud v. Renaud

721 A.2d 463,465-66 (Vt.l998).

       A] child's best interest are plainly furthered by nurturing the child's

relationship with both parents, and a sustained course of conduct by one

parent designed to interfere in the child’s relationship with the other cast

serious doubt upon the fitness of the offending party to be custodial parent’

id at 466


        The obstruction by a custodial parent of visitation between a child

and the noncustodial parent may, if continuous, constitute behavior so

inconsistent with the best interest of the child as to raise a strong possibility


that the child will be harmed” Webb v. Knudson, 133 N.H. 665,673 (1990)

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see also in the matter of Kosek & Kosek, 151 N.H. 722,728 (2005)



                                CONCLUSION


        Even though the case law does not specifically state what harm is

done to the child, it acknowledges that the custodial parents action due in

fact affects the child's well being , and a strong possibility the child will

be harmed.


Furthermore on March 14. 2024. in Middlesex Probate Court in

Woburn, Ma in front of Honorable Judge William R McSweenv.lll


Amanda Kaelblein made her intentions clear and admitted GUILTY in

this civil case bv stating to McSweenv “ I never want him to see his

child again” McSweenv “ever” Defendant “ever”.


   With no basis for her request.

   This is not in the best interest for the child, and it is considered

child abuse under federal law 42 U.S.C.A. 5106a “emotional harm

The plaintiff will be moving for summary judgment against the three


family defendants once he receives the transcripts.



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   The plaintiff attends therapy for this . the child should also for the


best interest of the child and that's whv this motion should be

granted.




                                               Respectfully Submitted

Date
                                               Michael Sean Speight
                                                100 Main St. #106
                                                Pembroke, NH 03275




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